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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

SUSAN ZOA WARD                                 *
928 Midland Avenue                             *
York, Pennsylvania 17403                       *
                                               *
      Plaintiff,                               *
                                               *
v.                                             *
                                               *
MACK A. MONROE                                 *
305 39th Avenue NE                             *     CASE NO.:
Center Point, Alabama 35215                    *
                                               *
and                                            *
                                               *
TRANS-CARRIERS, INCORPORATED                   *     JURY TRIAL DEMANDED
5135 Lamar Avenue                              *
Memphis, Tennessee 38118                       *
SERVE ON: James Mountjoy                       *
5135 Lamar Avenue                              *
Memphis, Tennessee 38118                       *
                                               *
        Defendants.                            *
                                               *
                                               *
*****************************************************************************
                                 COMPLAINT

       Susan Zoa Ward (hereinafter “Plaintiff”), by and through her attorneys, Lauren M.

Geisser and Gilman & Bedigian, LLC, hereby sues Mack A. Monroe (hereinafter “Defendant

Monroe”), and Trans-Carriers, Incorporated (hereinafter “Defendant Trans-Carriers”) and states

as follows:

                           FACTS COMMON TO ALL COUNTS

       1.      That all events giving rise to this cause of action took place in Garrett County,

Maryland.

       2.      That Defendant Monroe is a resident of the state of Alabama.
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        3.      That Defendant Trans-Carriers is a business entity incorporated in the State of

Tennessee.

        4.      That Plaintiff is a resident of the state of Pennsylvania.

        5.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1332(a)(2) because there is complete diversity of citizenship between the parties and the

amount in controversy, exclusive of interest and costs, exceeds $75,000. Defendant Monroe is a

citizen of Alabama, and Defendant Trans-Carriers place of incorporation is in Tennessee.

Plaintiff demands judgement for a sum in excess of $75,000.00, thus meeting the required

amount in question for subject matter jurisdiction. This court also has personal jurisdiction over

this action as the Defendants’ conduct with the forum state resulted from purposeful conduct

such that the Defendants could “reasonably anticipate being hailed into court there.” World–

Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980).

        6.      That on or about August 16, 2016, at approximately 12:42 a.m., Plaintiff was

lawfully and carefully driving east in the right-hand lane of I-168 at or near Finzel Road, paying

due care and regard for herself and others.

        7.      That at approximately the same time and place, a vehicle owned by Defendant

Trans-Carriers, and operated by Defendant Monroe, was travelling in the left hand lane,

attempting to pass the Plaintiff on the left side.

        8.      Suddenly and without notice, the vehicle owned by Defendant Trans-Carriers, and

operated by Defendant Monroe, swerved into the lane in which the plaintiff was traveling,

violently and forcefully striking her vehicle.

        9.      Defendants, as owners/drivers, owed a duty to Plaintiff.




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                                            COUNT I
                             (Negligence – against Defendant Monroe)

        10.     That Plaintiff adopts by reference the allegations contained in paragraphs 1

through 9 and all other counts of this Complaint with the same effect as if herein fully set forth.

        11.     That Defendant Monroe was operating Defendant Trans-Carriers’ vehicle in a

negligent and careless manner by failing to exercise care and caution for the safety of others on a

public highway; failed to maintain a proper lookout; failed to exercise care and caution to avoid a

collision; failed to maintain proper control over the vehicle; failed to follow the Maryland

Transportation Article; failed to obey a traffic control device; violated the Federal Motor Carrier

Safety Regulations and the Commercial Driver’s License Standards; and was otherwise negligent

in causing this collision.

        12.     That as a proximate result of the negligence of the Defendant Monroe, Plaintiff

was caused to be seriously, painfully and permanently injured about the body and limbs; to

undergo medical care and treatment; to incur medical expenses; and to lose time from her

employment and from her other daily pursuits.

        13.     That the Plaintiff further states that all of her injuries, damages, and losses

complained of were caused directly by the negligence of Defendants, without any negligence on

the part of the Plaintiff contributing thereto.

        WHEREFORE, this suit is brought and the Plaintiff, Susan Zoa Ward, claims damages in

excess of Seventy-Five Thousand Dollars ($75,000.00) in compensatory damages, plus interest

and costs.




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                                           COUNT II
                 (Negligent Entrustment – against Defendant Trans-Carriers, Inc.)

        14.     That Plaintiff adopts by reference the allegations contained in paragraphs 1

through 13 and all other counts of this Complaint with the same effect as if herein fully set forth.

        15.     That Defendant Trans-Carriers owned and supplied the vehicle to Defendant

Monroe and owed a duty of care in the supplying of a vehicle.

        16.     That Defendant Trans-Carriers knew, or should have known, that Defendant

Monroe had a propensity to operate vehicles in a negligent and unsafe manner, which likely

would cause physical would damage to others.

        17.     That as a proximate result of the negligence of the Defendant Trans-Carriers,

Plaintiff was caused to be seriously, painfully and permanently injured about the body and limbs;

to undergo medical care and treatment; to incur medical expenses; and to lose time from her

employment and from her other daily pursuits.

        18.     That the Plaintiff further states that all of her injuries, damages, and losses

complained of were caused directly by the negligence of Defendants, without any negligence on

the part of the Plaintiff contributing thereto.

        WHEREFORE, this suit is brought and the Plaintiff, Susan Zoa Ward, claims damages in

excess of Seventy-Five Thousand Dollars ($75,000.00) in compensatory damages, plus interest

and costs.

                                         COUNT III
         (Negligent Hiring of Defendant Monroe- against Defendant Trans-Carriers, Inc.)

        19.     Plaintiff adopts by reference the allegations contained in paragraphs 1 through 18

and all other counts of this Complaint with the same effect as if herein fully set forth.




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       20.      Defendant Trans-Carriers hired Defendant Monroe to be a truck driver for its

commercial transport company which required Defendant Monroe to use a motor vehicle during

his employment.

       21.      Defendant Trans-Carriers had a duty to use reasonable care to select employees

who were competent and fit to perform the duties required of the job, which included, inter alia,

complying with and following the Federal Motor Carrier Safety Act Regulations.

       22.      Defendant Monroe was incompetent and unable to perform the duties required at

the time of hiring by Defendant Trans-Carriers.

       23.      A reasonable and prudent employer would not have ignored Defendant Monroe’s

unfitness to perform the duties their employment entailed. Defendant Trans-Carriers knew, or

should have known, of Defendant Monroe’s incompetence and inability to perform the duties

required during his transportation route and was not a safe responsible driver.

       24.      Defendant Trans-Carriers owed a duty of reasonable care to Plaintiff to hire

employees who were competent and fit to perform the duties required of them, and through

hiring Defendant Monroe breached such duty.

       25.      That as a proximate result of the negligence of the Defendant Trans-Carriers in

hiring Defendant Monroe, Plaintiff was caused to be seriously, painfully and permanently injured

about the body and limbs; to undergo medical care and treatment; to incur medical expenses; and

to lose time from her employment and from her other daily pursuits.

       WHEREFORE, this suit is brought and the Plaintiff, Susan Zoa Ward, claims damages in

excess of Seventy-Five Thousand Dollars ($75,000.00) in compensatory damages, plus interest

and costs.




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                                         COUNT IV
                     (Respondent Superior– against Defendant Trans-Carriers)

        26.     Plaintiff adopts by reference the allegations contained in paragraphs 1 through 25,

and all other counts of this Complaint with the same effect as if herein fully set forth.

        27.     At all times relevant hereto Defendant Monroe was acting in the scope of his

employment for Defendant Trans-Carriers and as a result any and all negligent acts of the

Defendant Monroe are imputed to the Defendant Trans-Carriers due to vicarious liability.

        28.     As a result, Defendant Trans-Carriers is responsible for the negligent acts of

Defendant Monroe pled herein.

        WHEREFORE, this suit is brought and the Plaintiff, Susan Zoa Ward, claims damages in

excess of Seventy-Five Thousand Dollars ($75,000.00) in compensatory damages, plus interest

and costs.

                                          COUNT V
               (Negligent Training & Supervision- against Defendant Trans-Carriers)

        29.     Plaintiff adopts by reference the allegations contained in paragraphs 1 through 28

of this Complaint, and all other Counts of this Complaint, with the same effect as if herein fully

set forth.

        30.     That upon information and belief, Defendant Trans-Carriers failed to properly

train and supervise its employee, Defendant Monroe, who transported goods in interstate

commerce as part of his employment duties and had a duty to do so.

        31.     That as a result of the lack of training and proper supervision, including pursuant

to the Federal Motor Carrier Safety Act, Defendant Trans-Carriers was a proximate cause of this

occurrence.




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       32.     That as a proximate result of the negligence of the Defendants, including

Defendant Trans-Carriers, Plaintiff was caused to be seriously, painfully and permanently injured

about the body and limbs; to undergo medical care and treatment; to incur medical expenses; and

to lose time from her employment and from her other daily pursuits.

       33. The Plaintiff further states that all of her injuries, damages, and losses complained of

were caused directly by the negligence of the Defendants, without any negligence on the part of

the Plaintiff contributing thereto.

       WHEREFORE, this suit is brought and the Plaintiff, Susan Zoa Ward, claims damages

against Defendant in excess of Seventy-Five Thousand Dollars ($75,000.00) in compensatory

damages, plus interest and costs.

                                               Respectfully submitted,


                                               GILMAN & BEDIGIAN, L.L.C.

                                                /s/ Lauren M. Geisser
                                               Lauren M. Geisser (Bar ID 29190)
                                               GILMAN & BEDIGIAN, L.L.C.
                                               1954 Greenspring Drive, Suite 250
                                               Timonium, Maryland 21093
                                               (410) 560-4999
                                               lgeisser@gblegalteam.com
                                               Attorney for Plaintiff


                                  DEMAND FOR JURY TRIAL

       Plaintiff requests a jury on all issues herein.


                                               /s/ Lauren M. Geisser
                                               Lauren Geisser




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